              Case 19-25903       Doc 25-2     Filed 04/06/20      Page 1 of 2




                    UNITED STATES BANKRUPTCY COURT FOR
                         THE DISTRICT OF MARYLAND

 IN RE: Edouard L Benjamin                                     Case no. 19-25903-RAG

                    (Debtor(s)                                        Chapter 13


 Edouard L Benjamin

                    Movant(s)

 Department of Labor Federal Credit Union

                  Respondent(s)

            Order Granting Motion to Value Collateral and Set Interest Rate

         Having considered Movant(s) Motion to Value Collateral and Set Interest Rate,
and any response filed thereto, and it appearing that proper notice has been given, it is by
the United States Bankruptcy Court for the District of Maryland,
         ORDERED, that the interest rate to be paid in the Chapter 13 plan on
 Respondent's claim is set at 4.25%;
         ORDERED, that at such time as a discharge Order is entered pursuant to 11
 U.S.C. §1328 or the Movant(s) completes performance of the Movant(s) confirmed
 Chapter 13 plan in this case, the lien held in favor of Respondent on the Movant(s)
 interest in the property described as 2520 Madison Avenue, Baltimore, MD in the
 Motion, shall be released notwithstanding the interest rate reduction.
         ORDERED, that allowance of the claim of the Respondent pursuant to this order
 is without prejudice to objection to such claim on other grounds.
            Case 19-25903      Doc 25-2    Filed 04/06/20   Page 2 of 2




Cc:
J. Michael Broumas, Esquire
8370 Court Avenue, Suite 203
Ellicott City, MD 21043

Robert S. Thomas, II
Edouard L Benjamin


Department of Labor Federal Credit Union
11200 Rockville Pike, Ste. 520
c/o Silverman Theologou, LLP,
N. Bethesda, MD 20852


                           END OF ORDER
